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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-799V
                                      (not to be published)

    ************************* *
                                *
    ASHOK PAHWA,                *
                                *
                                *                          Filed: September 2, 2021
                    Petitioner, *
                                *
    v.                          *
                                *                          Decision by Proffer; Damages; Influenza
                                *                          (“Flu”); Shoulder Injury Related to
    SECRETARY OF HEALTH AND     *                          Vaccine Administration (“SIRVA”)
    HUMAN SERVICES,             *
                                *
                                *
                    Respondent. *
                                *
    ************************* *

Isaiah R. Kalinowski, Maglio Christopher and Toale, PA Washington, DC, for Petitioner
Althea W. Davis, U.S. Department of Justice, Washington, DC, for Respondent


                               DECISION AWARDING DAMAGES1

        On June 14, 2017, Ashok Pahwa (“Petitioner”) filed a petition, seeking compensation under
the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Pet., ECF No. 1.
Petitioner alleged that he suffered from a Shoulder Injury Related to Vaccine Administration
(“SIRVA”) as a result of the influenza (“flu”) vaccination he received on September 16, 2015. See
Proffer at 1, ECF No. 61; see also Pet.


1
 Because this Decision contains a reasoned explanation for my actions in this case, I will post it on the
United States Court of Federal Claims website, in accordance with the E-Government Act of 2002, 44
U.S.C. § 3501 (2012). This means the Decision will be available to anyone with access to the internet.
As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion
of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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      On May 21, 2021, I issued a Ruling on Entitlement, finding that Petitioner was entitled to
compensation under the Act for his SIRVA injury. ECF No. 55.

       Respondent filed a proffer on September 2, 2021 (ECF No. 58), agreeing to issue the
following payments:

       1. A lump sum payment of $30,000.00 paid in the form of a check to Petitioner.

        This amount represents all elements of compensation for all damages, including pain and
suffering that would be available under § 300aa-15(a).

       I adopt the parties’ proffer attached hereto, and award compensation in the amount and on
the terms set forth therein. I, therefore, award compensation in the amount of a lump sum
payment of $30,000.00, in the form of a check payable to Petitioner, Ashok Pahwa. The Clerk
of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                            s/ Katherine E. Oler
                                                            Katherine E. Oler
                                                            Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

ASHOK PAHWA,                                  )
                                              )
                Petitioner,                   )      No. 17-799V
                                              )      Special Master
       v.                                     )      Katherine E. Oler
                                              )      ECF
SECRETARY OF HEALTH                           )
AND HUMAN SERVICES,                           )
                                              )
                Respondent.                   )
                                              )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

      On June 14, 2017, Ashok Pahwa (“petitioner”) filed a petition for compensation under the

National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to 34 (“Vaccine Act” or

“Act”), alleging that he suffered adverse effects including a left shoulder injury following

administration of an influenza vaccine on September 16, 2015. Petition at 1-2. On May 21,

2021, Special Master Oler issued a Ruling on Entitlement, finding that petitioner was entitled to

vaccine compensation for his shoulder injury related to vaccine administration (“SIRVA”). 1 See

Ruling on Entitlement (ECF #55).

      I.       Items of Compensation

       Based on the evidence of record, respondent proffers that petitioner should be awarded

$30,000.00 in pain and suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

This amount represents all elements of compensation to which petitioner would be entitled under

42 U.S.C. § 300aa-15(a). Petitioner agrees.

1
 Respondent has no objection to the amount of the proffered award of damages set forth herein.
Assuming the Special Master issues a damages decision in conformity with this proffer,
respondent waives his right to seek review of such damages decision. However, respondent
reserves his right, pursuant to 42 U.S.C. § 300aa-12(e), to seek review of the Special Master’s
May 21, 2021 entitlement decision.
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      II.       Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment of $30,000.00 in the form of a check payable to petitioner. 2

                                                    Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Acting Assistant Attorney General

                                                    C. SALVATORE D’ALESSIO
                                                    Acting Director
                                                    Torts Branch, Civil Division

                                                    HEATHER L. PEARLMAN
                                                    Deputy Director
                                                    Torts Branch, Civil Division

                                                    LARA A. ENGLUND
                                                    Assistant Director
                                                    Torts Branch, Civil Division

                                                     s/Althea Walker Davis
                                                    ALTHEA WALKER DAVIS
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DATED: September 1, 2021




2
 Should petitioner die prior to the entry of judgment, respondent reserves the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future pain and suffering, and future lost wages.
                                                2
